                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                             3:23-mj-00185

               v.                                    WRIT OF HABEAS
                                                     CORPUS AD PROSEQUENDUM
JOSEPH DAVID EMERSON,
                                                     (SINGLE DAY APPEARANCE)
              Defendant.


       TO:     Sheriff, Multnomah County

       Pursuant to Chapter 153, Title 28, United States Code, you are directed to deliver the

body of above named defendant, Joseph David Emerson, FBI #PDE76MCPX, SWIS #841644, a

prisoner in your custody currently being housed at Multnomah County Detention Center, 1120

SW 3rd Ave., Portland, OR 97204, (503) 988-3689, to the United States Marshal for the District

of Oregon, or his duly authorized Deputy, who is hereby directed to produce said prisoner before

this court on Wednesday, December 6, 2023, at 1:30 p.m., for the purpose of review of detention

hearing. It is further ordered that the United States Marshal, or his duly authorized Deputy, shall

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re-deliver said prisoner to your facility at the conclusion of said proceedings, and is authorized to

incur the necessary expenses connected therewith, as provided by law.

Dated: December S        , 2023



                                                                          CIE F. BECKERMAN
                                                      United States Magistrate Judge

Presented by:

NATALIE K. WIGHT
United States Attorney

Isl Parakram Singh
PARAKRAM SINGH, OSB #134871
Assistant United States Attorney




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